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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


 BAHRAM MASKANIAN,

                    Plaintiff,
                                                   Removed from the Supreme Court of the
                        v.                         State of New York, Kings County, Index No.
                                                   351/2021
 WELLS FARGO & COMPANY,

                        Defendant.




                                     NOTICE OF REMOVAL

        PLEASE TAKE NOTICE THAT, for the reasons stated herein and pursuant to 28 U.S.C.

§§ 1441 and 1446, Defendant Wells Fargo & Company (“Wells Fargo”) hereby removes the

above-captioned action (“Action”) from the Supreme Court of the State of New York, County of

Kings (“State Court”), to the United States District Court for the Eastern District of New York.

        Removal is proper under 28 U.S.C. § 1441(a). Wells Fargo appears for the purpose of

removal only and for no other purpose. Wells Fargo reserves all rights and defenses. As grounds

for removal, Wells Fargo states as follows:

                                           SUMMARY

       1.      This Court has original jurisdiction over this civil action because Plaintiff Bahram

Maskanian (“Plaintiff” or “Maskanian”) asserts a cause of action arising under Dodd-Frank

Wallstreet Reform and Consumer Protection Act, Title 15 U.S.C. § 78u et seq., and Title 18 U.S.C.

§ 656 (Theft, embezzlement, or misapplication by bank officer or employee). This Court has

original jurisdiction over all civil actions arising under the federal law. 28 U.S.C. § 1331.




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       2.      Wells Fargo reserves its rights to supplement or amend this Notice of Removal in

the event that additional grounds for removal become apparent.

                                             PARTIES

       3.      Plaintiff is a resident of New York. (Compl. ¶ 1).

        4.     Wells Fargo is a national banking association, with its main office in Sioux Falls,

South Dakota. Wells Fargo Bank, N.A. v. ESM Fund I, LP, 785 F. Supp. 2d 188, 191 (S.D.N.Y.

2011) (“Wells Fargo is a national banking association with its main office in Sioux Falls, South

Dakota.”).

                     PROCEDURAL HISTORY AND BACKGROUND

        5.     On or about August 24, 2021, Plaintiff initiated this action in the Supreme Court

of the State of New York, County of Kings (the “State Action”) by filing a Complaint styled as

Bahram Maskanian v. Wells Fargo & Company, Index No. 351/2021.

        6.     On or about September 9, 2021, Plaintiff served Wells Fargo with the Complaint.

A copy of the Notice of Service of Process and Complaint is attached hereto as Exhibit A.

Pursuant to 28 U.S.C. § 1446(d), Wells Fargo will provide written notice of the removal to the

Plaintiff in this action and will file a copy of this Notice of Removal with the Kings County

Supreme Court of New York. A copy of the Notice of Filing Notice of Removal (without

exhibits) is attached hereto as Exhibit B.

        7.     Exhibits A and B constitute all of the process, pleadings, and orders served in this

case. See 28 U.S.C. § 1446(a). Wells Fargo has not answered, moved, or otherwise responded

to the Complaint.




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        8.     Wells Fargo filed this Notice of Removal within thirty (30) days of the date it

received a copy of the Complaint. No motions or other proceedings in this Action are pending in

State Court.

                     JURISDICTIONAL GROUNDS FOR REMOVAL

        9.     A defendant may remove a case from state court to federal court if the federal court

has original jurisdiction over the case. See 28 U.S.C. § 1441(a); see also Citibank, N.A. v.

Swiatkoski, 395 F.Supp.2d 5, 8 (E.D.N.Y. 2005) (citing 28 U.S.C. § 1441(a)).

       10.     Here, the Court has original jurisdiction under 28 U.S.C. § 1331 based on federal

question jurisdiction.

       11.     Plaintiff’s claim arises under federal law. Specifically, Plaintiff alleges Wells

Fargo violated the Dodd-Frank Wallstreet Reform and Consumer Protection Act, Title 15 U.S.C.

§ 78u et seq. and Title 18 U.S.C. § 656 (Theft, embezzlement, or misapplication by bank officer

or employee) by “defrauding and robbing their customers.” (Compl., ¶ 3).

        12.    Federal courts can hear “all cases, in law and equity, arising under this Constitution,

[and] the laws of the United States . . . ” U.S. Const., Art III, Sec 2. This clause has been

interpreted broadly and courts have found that this clause allows federal courts to hear any case in

which there is a federal ingredient. Osborn v. Bank of the United States, 22 U.S. 738 (1824).

Additionally, 28 U.S.C. § 1331 gives federal courts jurisdiction only to hear those cases which

arise under federal law. A “suit arises under the law that creates the cause of action.” American

Well Works v. Layne, 241 U.S. 257 (1916); see also Hernandez v. Conriv Realty Assocs., 116 F.3d

35, 38 (2d Cir. 1997) (“[A] case may be filed in federal court only if a federal question appears on

the face of the plaintiff's ‘well-pleaded-complaint.’”).




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       13.      Here, because Plaintiff’s causes of action in the Complaint are based on federal law,

there is federal question jurisdiction.

       14.      If any questions arise as to the proprietary of the removal of this action, Wells Fargo

requests the opportunity to present a brief and argument in support of its position that this case is

removable.

       15.      Venue is proper in this Court for removal purposes because this Court is “the

district court of the United States for the district and division in which within which [this] action

is pending.” 28 U.S.C. § 1446(a); see also 28 U.S.C. § 112(b).

                             OTHER PROCEDURAL REQUIREMENTS

       16.      Pursuant to 28 U.S.C. § 1446(d), Wells Fargo will promptly file a Notice of Filing

of Notice of Removal with the Clerk of the State Court. Wells Fargo will also serve Plaintiff with

a copy of the Notice of Filing and the Notice of Removal. Pursuant to Rule 5(d) of the Federal

Rules of Civil Procedure, Wells Fargo will file with this Court a Certificate of Service of the Notice

of Filing and the Notice of Removal.

       17.      This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of Civil

Procedure.

       18.      By filing this Notice of Removal, Wells Fargo does not waive and expressly reserves

any defenses that may be available to it (including without limitation defenses relating to jurisdiction)

and does not concede that the allegations in the Complaint state a valid claim under any applicable

law.

       19.      Wells Fargo reserves the right to submit at an appropriate time and under

appropriate confidentiality protections factual support, evidence, and affidavits to support the

foregoing bases for federal jurisdiction, should that become necessary.



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       20.     Wells Fargo reserves the right to supplement or amend the foregoing Notice of

Removal to add other bases for federal jurisdiction that become apparent as a result of any amended

complaint filed by Plaintiff in this Action.


       WHEREFORE, Wells Fargo hereby removes this Action from the Supreme Court of the

State of New York, County of Kings, to this Court.

Dated: September 27, 2021                      Respectfully submitted,

                                               TROUTMAN PEPPER HAMILTON
                                               SANDERS LLP

                                               /s/ Stephen J. Steinlight
                                               Stephen J. Steinlight, Esq.
                                               NY Bar No. 028852001
                                               875 Third Avenue
                                               New York, New York 10022
                                               Telephone: (212) 704-6008
                                               Facsimile: (212) 704-6288
                                               Email: stephen.steinlight@troutman.com
                                               Attorney for Defendant Wells Fargo & Company




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of September 2021, I served a copy of the foregoing,

Notice of Removal, via U.S. Mail, postage prepaid, on:

                                       Bahram Maskanian
                                     6102 5th Ave., #205390
                                      Brooklyn, NY 11220
                                        Pro Se Plaintiff



                                             /s/ Stephen J. Steinlight
                                             Stephen J. Steinlight, Esq.




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